Case 2:03-CV-02561-.]DB-STA Document 157 Filed 07/14/05 Page 1 of 4 Page|D 142

IN THE UNITED STATES DISTRICT COURT F"-ED ev 00
FOR THE WESTERN DISTRICT 0F TENNESSEE ' ‘
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NACCO MATERIALS HANDLING \'W "._~'r~ S:F~.f, F:§MPHIS
GROUP, INC., d/b/a YALE MATERIALS
HANDLING CORPORATION,
Plainriff,

vs. No. 03-2561-B A

TOYOTA MATERIAL HANDLING,

U.S.A., INC. and THE LILLY COMPANY,
Defendants.

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ORDER GRANTING EXTENSION OF TIME TO RESPOND TO THE PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT AGAINS'I` TOYOTA MATERIAL
HANDLING.. U.S.A., INC’S COUNTERCLAIM

Upon motion of the Defendant Toyota Material Handling, U.S.A., lnc. and for good
cause shown, the time for Defendant to respond to the Motion for Summary Judgment against

Toyota’s Counterclaim is hereby extended an additional ten days.

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ENTERthiS H`T day 0fJu1y,2005.

 

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Case 2:03-cV-02561-.]DB-STA Document 157 Filed 07/14/05 Page 2 of 4 Page|D 143

C E R T l F I C A T E
I certify that I have placed a true and exact copy of the foregoing in the United States
mail, postage prepaid, addressed to:

Glen G. Reid, Jr. Esq.

Wyatt, Tarrant & Combs

The Renaissance Center

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Jeffrey C. Srnith, Esq.
Armstrong A]len

Brink]ey P]aza

80 Monroe Ave., Suite 700
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itt

This / day of July, 2005.

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UNITE STATES DISTRICT oURT - WESTERDTISRICOF TNNESEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 157 in
case 2:03-CV-02561 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

